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                                                                                                                 Reset Form

                                                                                                   Plaintiff’s ADR Certification

                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA


         Ashley Gjovik                                           CASE No C 3:23-cv-04597


                                         Plaintiff(s)
                                                                 ADR CERTIFICATION BY
         v.
                                                                 PARTIES AND COUNSEL
          Apple Inc
                                         Defendant(s)

        Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
        she has:

             1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
                (available at cand.uscourts.gov/adr).
                _______________________
Contemplated 2) Discussed with each other the available dispute resolution options provided by the Court
                and private entities; and
             3) Considered whether this case might benefit from any of the available dispute resolution
                options.
          Date:November 15 2023                           Ashley Gjovik
                                                                                         Party
                                                                Ashley Gjovik
         Date:November 15 2023
                                                                                      __________
                                                                                      Attorney (pro se; not licensed)
        ______ further certifies that he or she has discussed the selection of an ADR process with
Ashley Counsel
        counsel for the other parties to the case. Based on that discussion, the parties:
               intend to stipulate to an ADR process (id est: early settlement conference)
              ■




               prefer to discuss ADR selection with the Assigned Judge at the case management
                conference


               Date:November 15 2023
                                                                                      __________
                                                                                      Attorney
                                                                                (pro se; not licensed)




           Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
           Options.”



          Form ADR-Cert rev. 1-15-2019
                                                                                                                 Print Form

         Plaintiff’s ADR Certification | 3:23-CV-04597-EMC
